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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

                                             )          CV 122-085
                                             )          CV 122-089
                                             )          CV 122-094
                                             )          CV 122-095
IN RE: JAMES LAMONT TAYLOR                   )          CV 122-105
LITIGATION                                   )          CV 122-106
                                              )         CV 122-107
                                              )         CV 122-113
                                              )         CV 122-114
                                              )         CV 122-115
                                         _________

                                         ORDER
                                         _________

       Objections to this Report and Recommendation must be filed by no later than October

20, 2022, must specify each proposed finding of fact and conclusion of law to which objection

is made, must state the bases for each such objection, and must be served upon all parties.

Failure to file objections by this deadline may result in this Report and Recommendation

becoming the opinion and order of the Court. Devine v. Prison Health Servs., Inc., 212 F.

App’x 890, 892 (11th Cir. 2006) (per curiam). Failure to object to any proposed finding of

fact or conclusion of law waives the right to challenge on appeal the district court’s adoption

of each such factual finding or legal conclusion. 11th Cir. R. 3-1. The Clerk will submit this

Report and Recommendation together with any objections to Chief United States District

Judge J. Randal Hall, on October 21, 2022.

       Requests for extension of time to file objections shall be filed with the Clerk of Court

for consideration by the undersigned.         A party may not appeal this Report and
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Recommendation directly to the United States Court of Appeals for the Eleventh Circuit.

Appeals may be made only from a final judgment.

      SO ORDERED this 3rd day of October, 2022, at Augusta, Georgia.




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